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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                     BEAUMONT DIVISION

MAKUSHA GOZO                                     §

VS.                                              §               CIVIL ACTION NO. 1:20cv196

DEPT. OF HOMELAND SECURITY                       §

                      ORDER ADOPTING THE MAGISTRATE JUDGE’S
                          REPORT AND RECOMMENDATION

       Makusha Gozo, proceeding pro se, filed the above-styled petition for writ of habeas corpus
pursuant to 28 U.S.C. § 2241. The court previously referred this matter to the Honorable Zack

Hawthorn, United States Magistrate Judge, at Beaumont, Texas, for consideration pursuant to 28

U.S.C. § 636 and applicable orders of this court. The Magistrate Judge has submitted a Report and

Recommendation of United States Magistrate Judge recommending the petition be dismissed

without prejudice for lack of subject-matter jurisdiction.

       The court has received and considered the Report and Recommendation of United States

Magistrate Judge, along with the record and pleadings. No objections were filed to the Report and

Recommendation.

                                             ORDER

       Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

and the report of the Magistrate Judge is ADOPTED as the opinion of the court. A final judgment

shall be entered in accordance with the recommendation of the Magistrate Judge.

        SIGNED this the 21 day of October, 2020.




                                       ____________________________
                                       Thad Heartfield
                                       United States District Judge
